Case 3:21-cv-06118-JD   Document 65-2   Filed 06/03/22   Page 1 of 8




                 EXHIBIT A
                   Case 3:21-cv-06118-JD                Document 65-2         Filed 06/03/22        Page 2 of 8




                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                           1N AND FOR THE COUNTY OF SAN MATEO



         DANIEL OCAMPO, individually and on behalf of) Case N05 21'CIV'03 843
         all Others Slmay           Sltuated’
                                                                    ) Assigned for A11 Purposes to Hon. Danny Y. Chou
                                       Pl't
                                        am      1   ’                )
                                                                    ) ORDER SUSTAINING DEMURRERS WITH
                   V_                                                )   LEAVE1ILMMEND
                                                                     )
                                                                     )                                      w
                                                                                                                  r


                                                                                                                       .\


         DFINITY USA RESEARCH LLC; DFINITY                           3                   SAEMET%O%O%W'


         STIFTUNG; ANDREESEN HOROWITZ;                               )
         POLYCHAJN CAPITAL; DOMINIC
                                                                                                 JAN                  1,
    10
         WILLIAMS; and DOES 1-20,                                    3
                                                                     )                     Clefk 0f th       rI   r Coun
                                       Defendants.                   )
    ll                                                               )                By
                                                                                                          CLERK
    12                                                                                             DEF“
    13             The Demurrers of Defendants Dnity           USA Research, LLC, Dnity           Stiftung, AH Capital
    l4   Management, LLC (AH), and PoIychain Capital LP (Polychain) (collectively, Defendants) came for
    l5   hearing before this Court on April 7, 2022 at 11:00 a.m. All parties appeared through counsel at the
    16   hearing. Having considered all papers led           in support of and in opposition to the Demurrers, oral

    l7   arguments of the parties, all testimony and evidence presented at the hearing,.and all other pleadings and

    18   papers on le        herein, the Court SUSTAINS the Demurrers WITH LEAVE TO AMEND.
                                ‘

    l9
                                                            BACKGROUNDI
‘
    20             Dnity      Stiftung is a nonprot     organization that created Internet Computer Project (ICP) tokens.
    21   (Compl, 11 16.) Dnity          USA Research LLC is a U.S.-based subsidiary of Dnity             Stiftung (collectively,
    22   Dnity).        (Id., 11 15.) AH is “a private venture capital rm”     (id., 1] 18), and Polychain is “a cryptocurrency
    23   investment rm         managing portfolios of digital assets” (id., 1[ 19).
    24             Dnity’s      Internet Computer Project “is a smart contract platform designed to power blockchain

    25   versions of the internet’s most population applications . . . which would displace the need to use

    26

    27

    28
                   1
                       These facts are taken from the Complaint led          on July 15, 2021.



                               ORDER SUSTAINING DEMURRERS WITH LEAVE TO AMEND - l
              Case 3:21-cv-06118-JD              Document 65-2       Filed 06/03/22          Page 3 of 8




     centralized, gatekeeping hosting services like Amazon Web Services.” (Comp1., 11 44.) “The purported
     native cryptocurrency for Dnity’s       Internet Computer project is the ICP token.” (Id,           45.)
              “From 201 6 to the present,” Defendants promoted Dnity’s             Internet Computer Project and its

     ICP tokens. (Comp1., 1] 73.) These promotional efforts included a web page (id, 1[ 74), blog posts (id., 1m

     76—79), articles (id., 1m 80-82, 84), statements at conferences (id., 1i 82), tweets (id., 11 83), virtual events

     (id., 11 85), and press tours (id., 11 86-89).
              “In February 2017, Dnity       held a ‘Seed’ fundraising round for the Company to use for its

     operations and investments in proj ects developed using ICP technology.” (Compl., 11 51.) As part of the

     “Seed” round, Dnity      raised approximately $40 million from “ ‘enthusiasts,’ ” including AH and

lO   Polychain. (Id., 1111 51, 54.) Although no ICP tokens existed at the time of the Seed fundraising round
ll   (see id. , 11 46 [“all 469,21 3,710 ICP tokens in existence were simply created by Dnity            in May
                                                                                                                  2021”],
                                           its ‘Seed Contributors’ ” 24.72% of the ICP tokens created in
              at some point, promised
                                              “
12   Dnity,                                                                                                        May
                                                                               “
l3   2021 (id., 11 57.) In January or Feburary 201 8, Dnity      also held a       ‘Strategic’ fundraising round” in
l4   which AH and Polychain participated. (Id., 1111 58-59.) Investors in that round would receive 7% of the

15   ICP tokens created in May 2021. (Id., 11 60.) In August 2018, Dnity            also held its
                                                                                                    “ ‘Private Presale’ “ of

l6   ICP tokens in which AH and Polychain participated. (Id., 11 62.) Participants in the Presale were “eligible
l7   to receive 4.96% of the initial supply of ICP tokens.” (Ibid.)

18            In May 2021, Dnity      created 469,213,710 ICP tokens “as part of its “Genesis” launch, “the

19   Company’s functional equivalent of an” Initial Coin Offering (ICO). (Compl., 1111 46, 65.) The ICP
20   tokens were “listed on multiple cryptocurrency exchanges like Coinbase, Binance, Huobi, OKEx and

21   others.” (Id., 11 90.) The ICP tokens “debuted at a price of $731 on its rst         day.” (Id., 11 93.) AH “used its
22   relationship with Coinbase to secure a favorable listing and price of ICP” tokens “during its debut on
23   Coinbase.” (Id., 11 104.) Soon after, however, the price of ICP tokens plummeted, eventually dropping to

24   as low as $30. (Id., 1111 94, 111-1 12, 114, 119.) Despite this, AH and Polychain “saw a staggering return

25   on” their investment. (Id. , 1111 71-72.)

26            “Plaintiff Daniel Ocampo is an individual and a resident of the State of California.” He
27   purchased ICP tokens “between May 10, 2021 and June 25, 2021, and suffered losses on those
28   investments.” (Compl., 11 14.) He led        this class action on July 15, 2021. (Compl.) In his class action




                       ORDER SUSTAINING DEMURRERS WITH LEAVE TO AMEND - 2
                Case 3:21-cv-06118-JD           Document 65-2         Filed 06/03/22      Page 4 of 8




         complaint, Ocampo alleges two causes of action: (1) unregistered offering and sale of securities in
     ‘

         violation of sections 5 and 12(a)(1) of the Securities Act of 1933 (Securities Act) (Comp1., 1[1I97-205);

         and (2) Violation of section 15 of the Securities Act (Compl, 1m 206-213).

                                                        DISCUSSION
            A. Legal Standard
                On a demurrer, the Court must “assume the truth of the facts alleged in the complaint and the

         reasonable inferences that may be drawn om       those facts.” (Miklosy v. Regents ofthe University ofCal.

         (2008) 44 Ca1.4th 876, 883.) The Court “may also consider material documents referred to in the

         allegations of the complaint” (City ofPort Hueneme v. Oxnard Harbor Dist. (2007) 146 Cal.App.5th
lO       51 1, 5 14 (Port Hueneme)) and “consider matters that may be judicially noticed” (Brown v. Deutsche

ll       Bank Natl. Trust Co. (2016) 247 Cal.App.4th 275, 279). The Court does “not, however, assume the truth
12       of contentions, deductions or conclusions of law.” (Guerrero v. Pacific Gas & Electric C0. (2014) 230
l3       Ca1.App.4th 567, 571.)
l4           B. Analysis
15               1.   Statute of Repose

l6              Defendants contend Plaintiffs claims under the Securities Act are barred by the three-year

l7       statute of repose. Because this contention is raised at the demurrer stage, the Court rejects it.

l8               15 U.S.C. § 77m states in relevant part that no action may “be brought to enforce a liability

19       created under” section 12(a)(1) “more than three years after the security was bona de      offered to the

20       public.” A bona de    offer of a security occurs when the security is “really and truly (genuinely) being

21       offered to the public, as opposed to, say, a simulated offering.” (P. Stolz Family Partnership L.P. v.

22       Daum (2d Cir. 2004) 355 F.3d 92, 99.) Thus, the statute ofrepose is triggered “when the security isrst

23       bona fide offered.” (Id. at p. 100; see also id. at p. 106 [“Section 13’s ‘bona de   offered to the public’

24       refers to the time when the stock is initially bona de   offered to the public,” emphasis added].)

25              According to Defendants, the rst     bona fide offer of ICP tokens to the public occurred in

26       February 2017 during the Seed fundraising round—more than four years before Plaintiff led           this

27       action. (Defs. Reply, at pp. 1, 3.) From the Complaint, it is not clear that this fundraising round was open

28       to the public (see Compl., 1m 5 1 [Dfmity raised money during the Seed fundraising round “ ‘primarily




                          ORDER SUSTAINING DEMURRERS WI [H LEAVE TO AMEND - 3
            Case 3:21-cv-06118-JD          Document 65-2         Filed 06/03/22        Page 5 of 8




     from enthusiasts who followed the project’ ”], 79 [stating that the rst   mding    round was conducted

     with “select investors”])—which would normally end the discussion. But Defendants point to two

     articles referenced by the Complaint—which purportedly establish that the Seed fundraising round was

     advertised by tweet and was open to the public. (See Liftik Decl., exs. A & D.) As a threshold matter, it

     is not clear that the Court may rely upon the hearsay statements in those articles—which are not subj ect

     to judicial notice—to sustain the Demurrers. Although Defendants are correct that the Court may

     consider “material documents” referenced in the Complaint, it is not clear that these articles qualify as

     material documents. (Port Hueneme, supra, 146 Ca1.App.4th at p. 514.) Indeed, courts have typically

     invoked the maxim cited by Defendants when considering “written documents” that “are the foundation

10   of an action and are attached to the complaint and incorporated therein by reference . . . .” (City of
ll   Pomona v. Superior Court (2001) 89 Ca1.App.4th 793, 800.) The documents cited by Defendants do not

12   appear to be the foundation for Plaintiff’s action and the statements in those documents relied upon by

13   Defendants appear to be hearsay statements made by Dominic Williams, the founder of Dnity,           about

l4   the Seed fundraising round, casting doubt on whether those representations may be relied upon by this

15   Court in deciding the Demurrers.

l6          In any event, the Court nds    that the Demurrers should be overruled even if those documents are

l7   considered. At most, those documents establish that the Seed fundraising round was open to the public.

18   (See Liftik Decl., exs. A & D.) They do not establish what the Seed participants received in exchange
19   for their investment, much less that they received any ICP tokens in February 2017. Indeed, according to

20   the Complaint, the ICP tokens did not exist at the time of the Seed fundraising round (see Compl., 1i 5),

     and the documents themselves state that Dnity                                      ” at some later
21                                                     “change[d] the funding mode
22   unspecified date aer   the Seed fundraising round to give “24.72% of the network tokens that will exist

23   at Genesis” to the Seed participants. (See Liftik, ex. A.) Thus, the Court cannot conclude, at the

24   demurrer stage, that a bona de   offer of any ICP tokens occurred in February 2017.

25          Accordingly, the Demurrers are overruled on this ground.
26          2.   Statutory Seller Requirement

27          Defendants contend Plaintiff has not adequately pled facts establishing that they are statutory

28   sellers. The Court agrees.




                     ORDER SUSTAINING DEMURRERS WITH LEAVE TO AMEND 4                           —
             Case 3:21-cv-06118-JD             Document 65-2          Filed 06/03/22        Page 6 of 8




             Under section 12(a)(1) of the Securities Act, “[a]ny person who—[11] (1) offers or sells a security

     in Violation of section 77e of this title . . . [1m] . . . shall be liable . . . to the person purchasing such

     security om    him . . . .” (15 U.S.C. § 77l(a)(l).) In construing this language, Jensen v. iShares Trust

     (2020) 44 Cal.App.5th 618, 646 (Jensen) held that “[1]iabi1ity. . . ‘extends only to the “immediate
     sellers” of securities and “those who solicit purchasers to serve their own nancial          interests or those of
                              ’”
     the securities owner.”        Thus, Plaintiff may only assert a cause of action under section 12(a)(1) against
     the person who actually “pass[ed] title to the” ICP tokens to him (see Jensen, at p. 648), or who

     “direct[ly] or immediate[ly]” solicited his purchase of the tokens (id, at p. 649). As to the latter, “the

     necessary inquiry . . . ‘focuses on the defendant’s relationship with the plaintiff-purchaser,’ not ‘the
10   defendant’s degree of involvement in the securities transaction and its surrounding circumstances.’
                                                                                                                      ”

ll   (Jensen, at p. 648.) Thus, “general advertising and promotions of the product to the public” is not
                                                                                                       “ ‘direct’ ”
12   enough to establish liability based on solicitation. (Ibid.) Rather, Plaintiff must allege a

l3   communication om         the alleged solicitor of his purchase. (Jensen, at p. 649.)

l4           Here, Plaintiff only alleges that he purchased ICP tokens. He does not allege how he purchased
15   those tokens, much less who he purchased them om.            And given the chart provided at paragraph 65 of
l6   the Complaint, the Court cannot reasonably infer that any Defendant passed title to any ICP tokens to

l7   Plaintiff. Thus, Plaintiff can only state a cause of action against Defendants if he alleges facts

18   establishing that Defendants directly and immediately solicited his purchase of ICP tokens. (See Jensen,
l9   supra, 44 Cal.App.5th at pp. 648—649.) He does not, however, do so. For example, Plaintiff does not
20   allege that he had any relationship with any Defendant, much less a direct relationship or
21   communication with any Defendant. (See id. at p. 649.) At most, Plaintiff alleges that Defendants

22   engaged in “general advertising and promotions”—which is not sufcient              to establish that any

23   Defendant qualies      as a statutory seller under section 12. (Ibid.)

24           Plaintiff‘s efforts to distinguish Jensen—which is binding on this Court—are unavailing. The
25   trial court in Jensen found that the plaintiffs lacked standing to assert a section 12(a)(2) claim in the

26   context of a motion for judgment on the pleadings. (See Jensen, supra, 44 Cal.App.5th at p. 628.) Thus,

27   contrary to Plaintiff’s assertion, Jensen was “a decision about the adequacy of pleading of claims.” (Pl.
28




                       ORDER SUSTAINTNG DEMURRERS WITH LEAVE TO AMEND - 5
                Case 3:21-cv-06118-JD                Document 65-2         Filed 06/03/22       Page 7 of 8




     Opp. to AH and Polychain, at p. 7.) And like the plaintiff in Jensen, Plaintiff failed to allege facts

     establishing that any Defendant qualies             as a statutory seller.

               Plaintiffs invocation ofRule l59A is also misplaced. By its terms, Rule 159A only applies to
     claims under section 12(a)(2) of the Securities Act and does not apply to claims under section 12(a)(l).

     (17 C.F.R. § 230.159A(a) [“Defmition of seller for purposes of Section 12(a)(2) ofthe Act,” emphasis

     added].) In any event, the Court nds            the federal authorities declining to apply Rule 159A in light of

     Pinter more persuasive. (See Jensen, supra, 44 Ca1.App.5th at p. 650, i.               21 .) As the Court oprpeal

                              “
     noted in Jensen,             ‘[a]s a policy matter, because Section 12(a)(2) claims do not require allegations of
                                                                                        “
     scienter, reliance or loss causation, liability is more easily established.’           (Ibid., internal citation
                     “                                                                 ”
10   omitted.)           ‘[A] more narrowly drawn'interpretation of a statutory seller’ is therefore warranted here.
11   (Ibid., quoting Maine State Retirement System v. Countrywide Financial Corp. (C.D.Cal. May 5, 201 1)
12   2011 WL 4389689, *10.)

13              Accordingly, Defendants’ Demurrers to the section 12(a)(1) claim are sustained on this ground.
14              3.       Domestic Transactions

15              The Court also sustains Defendants’ Demurrers because Plaintiff has not sufciently                alleged that

16   he purchased ICP tokens in a domestic transaction. To state a claim under the Securities Act, a “plaintiff

17   must plausibly allege that the purchase incurred irrevocable liability within the United States to take and

18   pay for a security, or that the seller incurred irrevocable liability within the United States.” (Stoyas v.
19   Toshiba Corp. (9th Cir. 2018) 896 F.3d 933, 948.) The allegation in the Complaint that Plaintiff is

20   resident of California who purchased ICP tokens is not enough to establish either requirement. (Compl.,

21   1] 14.)   Accordingly, Defendants’ Demurrers to the section 12(a)(1) claims are sustained on this
22   independent ground.
23              4.       Section 15 Claim

24              To allege a violation of section 15 of the Securities Act, Plaintiff must “allege (1) a primary
25   violation of federal securities law and (2) tha ” Defendants” exercised actual power or control over the

26   primary violator.” (Welgus v. TriNet Group, Inc. (N.D.Cal. Jan. l7, 2017) 2017 WL 167708, *20.) For
27   the reasons stated above, Plaintiff has not alleged a primary violation of section 12(a)(1) of the

28   Securities Act against any Defendant. (See, supra, at pp. 4-6.) His section 15 claim therefore fails as




                             ORDER SUSTAINING DEMURRERS WITH LEAVE TO AMEND                               —
                                                                                                              6
              Case 3:21-cv-06118-JD           Document 65-2         Filed 06/03/22      Page 8 of 8




     well. (City of-Warren Police and Fire Retirement System v. Natera Inc. (2020) 46 Ca1.App.5th 946,

     962.) In addition, Plaintiff fails to allege facts sufcient   to establish that any Defendant is a control

     person as dened       by 15 U.S.C. § 770(a). (See Pirani v. Slack Technologies, Inc. CN.D.Cal. 2020) 445
     F.Supp.3d 367, 391 .) Accordingly, Defendants’ Demurrers to the section 15 claim are sustained.
                                               I




              5. Leave to Amend

              Because the Court cannot conclude that there is no reasonable probability that Plaintiff can cure

     the defects in his Complaint, leave toamend is granted. (See Code Civ. Proc., § 430.41, subd. (e)(1).)

                                                         ORDER
              Based on the foregoing, the Court SUSTAINS the Demurrers WITH LEAVE TO AMEND.

lO

ll   Dated:
                 '

                     Vii     ? ML,
12
                                                                      Danny Y. Chou
                                                                      Judge of the Superior Court
l3

l4

15

16

l7

18

l9

20

21

22

23

24

25

26

27

28




                       ORDER SUSTAINING DEMURRERS WITH LEAVE TO AMEND - 7
